     Case 4:18-cv-04181 Document 7 Filed on 02/15/19 in TXSD Page 1 of 6



                         IN THE UNITED STATES DISTRICT
                       COURT FOR THE SOUTHERN DISTRICT
                           OF TEXAS HOUSTON DIVISION

ALISON S. ROGERS,                              §
     Plaintiff,                                §
                                               §
v.                                             §         CIVIL ACTION NO. 4:18-CV-04181
                                               §
CAR WASH PARTNERS, INC.                        §
D/B/A MISTER CAR WASH, CO.                     §
AND JOHN DOE                                   §
      Defendants.                              §

              JOINT DISCOVERY/CASE MANAGEMENT PLAN
          UNDER RULE 26(f) FEDERAL RULES OF CIVIL PROCEDURE

1.   State where and when the meeting of the parties required by Rule 26(f) was held, and
     identify the counsel who attended for each party.

     On January 17, 2019, Charles Rogers, Plaintiff’s counsel and Katherine Mendiola,
     Defendant’s counsel, participated in a telephone conference.


2.   List the cases related to this one that are pending in any state or federal court with
     the case number and court.

     This case was removed from the 152nd District Court of Harris County, Texas (Cause No.
     2018-65634).


3.   Briefly describe what this case is about.

     This an alleged property damage and personal injury suit arising out of a vehicle collision
     that occurred on September 19, 2016 at a Mister Car Wash premises, located at 10760
     Westheimer Road, Houston Texas 77042. Briefly, Defendant asserts that it was an
     employee of CWP Asset Corp. who drove one of Defendant’s customer’s vehicles into
     Plaintiff’s parked vehicle. Plaintiff was not in either vehicle at the time, but was standing
     nearby.


4.   Specify the allegation of federal jurisdiction.

     This Court has diversity jurisdiction. Plaintiff, a resident of Houston, Texas, and
     Defendant, Car Wash Partners, Inc., is a Delaware corporation with its principal place of
     business in Arizona. Plaintiff seeks damages between $100,000 and $200,000.
     Case 4:18-cv-04181 Document 7 Filed on 02/15/19 in TXSD Page 2 of 6




5.   Name the parties who disagree and the reasons.

     None.


6.   List anticipated additional parties that should be included, when they can be added,
     and by whom they are wanted.

     Plaintiff intends to join CWP Asset Corp. and the CWP Asset Corp. employee, Oscar
     Molina (currently, Plaintiff has sued “John Doe,” but intends to drop that reference/party
     when Molina is sued and served). Defendant opposes Plaintiff’s attempt to name the driver
     Oscar Molina. Defendant asserts that the statute of limitations has run on this cause of
     action and there is no applicable Texas or federal law that allows for the naming of “John
     Doe” to toll the statute of limitations.

     Plaintiff asserts that exceptions to the statute of limitations apply because Defendant from
     the outset of this case has prevented Plaintiff from determining the identity of Plaintiff’s
     employee driver, from the moment of the collision, by removing the driver from the
     property and refusing to disclose his identity, and continuing to the filing of this Joint
     Discovery/Case Management Plan, by refusing Plaintiff’s request for contact information
     for the driver needed by Plaintiff to serve the individual with process.

     Defendant denies these assertions and reserves the right to supplement the record with
     evidence in support of its denial.


7.   List anticipated interventions.

     None.


8.   Describe class-action issues.

     None.


9.   State whether each party represents that it has made the initial disclosures required
     by Rule 26(a). If not, describe the arrangements that have been made to complete the
     disclosures.

     Each party has made the required initial disclosures pursuant to Rule 26(a).
      Case 4:18-cv-04181 Document 7 Filed on 02/15/19 in TXSD Page 3 of 6



10.   Describe the proposed agreed discovery plan, including:
      A.     Responses to all the matters raised in Rule 26(f).
      B.     When and to whom the plaintiff anticipates it may send interrogatories.
      C.     When and to whom the defendant anticipates it may send interrogatories.
      D.     Of whom and by when the plaintiff anticipates taking oral depositions.
      E.     Of whom and by when the defendant anticipates taking oral depositions.
      F.     When the plaintiff (or the party with the burden of proof on an issue) will be
             able to designate experts and provide the reports required by Rule 26(a)(2)(B),
             and when the opposing party will be able to designate responsive experts and
             provide their reports.
      G.     List expert depositions the plaintiff (or the party with the burden of proof on
             an issue) anticipates taking and their anticipated completion date. See Rule
             26(a)(2)(B) (expert report).
      H.     List expert depositions the opposing party anticipates taking and their
             anticipated completion date. See Rule 26(a)(2)(B) (expert report).

      A.     The parties do not believe any changes in the timing, form, or requirement for
             disclosures under Rule 26(a) are necessary.
      B.     Plaintiff anticipates serving interrogatories on Defendant within the next thirty (30)
             days.
      C.     Defendant will serve interrogatories on Plaintiff within the next thirty (30) days.
      D.     Plaintiff anticipates deposing the CWP Asset Corp. employee who was involved in
             the accident. That deposition will occur during the next one-hundred and twenty
             (120) days.
      E.     Defendant will depose Plaintiff following receipt of Plaintiff’s written discovery
             responses and the receipt of all relevant medical records, if any. Currently,
             Defendant anticipates taking that deposition within the next one-hundred and
             twenty (120) days.
      F.     Plaintiff will be able to designate experts and provide the reports required by Rule
             26(a)(2)(B) on June 11, 2019, and Defendant will be able to designate responsive
             experts and provide their reports on July 11, 2019.
      G.     Plaintiff may depose one or more treating physicians. Plaintiff anticipates
             completing those depositions, if any, by September 15, 2019.
      H.     Subject to developments during written discovery, at this point, Defendant does not
             anticipate the need for defense experts.


11.   If the parties are not agreed on a part of the discovery plan, describe the separate
      views and proposals of each party.

      None at this time.


12.   Specify the discovery beyond initial disclosures that has been undertaken to date.

       None to date.
      Case 4:18-cv-04181 Document 7 Filed on 02/15/19 in TXSD Page 4 of 6




13.   State the date the planned discovery can reasonably be completed.

      October 9, 2019.


14.   Describe the possibilities for a prompt settlement or resolution of the case that were
      discussed in your Rule 26(f) meeting.

      The parties discussed mediating the case at a relatively early stage; perhaps following the
      deposition of Plaintiff and the Defendant’s employee driver, along with a Rule 30(b)(6)
      apex deposition of Defendant.

      Defendant denies any possibility to a Rule 30(b)(6) apex depositions and reserves the
      right to oppose any Rule 30(b)(6) apex depositions.


15.   Describe what each party has done or agreed to do to bring about a prompt
      resolution.

      The parties previously engaged in some settlement discussion, but those informal efforts
      have not been successful. The hope is that, through written discovery and one or two
      depositions, the parties will be in a position to more accurately evaluate their respective
      positions.


16.   From the attorneys' discussion with the client, state the alternative dispute resolution
      techniques that are reasonably suitable, and state when such a technique may be
      effectively used in this case.

      This case is suitable for a half-day mediation at the appropriate time (see above).


17.   Magistrate judges may now hear jury and non-jury trials. Indicate the parties' joint
      position on a trial before a magistrate judge.

      The parties consent to a jury trial before a magistrate judge.


18.   State whether a jury demand has been made and if it was made on time.

       Defendant timely demanded a jury trial with its notice of removal.
      Case 4:18-cv-04181 Document 7 Filed on 02/15/19 in TXSD Page 5 of 6



19.   Specify the number of hours it will take to present the evidence in this case.

      Plaintiff anticipates she can present her case in approximately 3 hours.

      Defendant anticipates it can present its case in approximately 6 hours.

      Thus, the expectation is that the jury trial of this case will require two trial days.


20.   List pending motions that could be ruled on at the initial pretrial and scheduling
      conference.

      None at this time.


21.   List other motions pending.

      None.


22.   Indicate other matters peculiar to this case, including discovery, that deserve the
      special attention of the court at the conference.

      None at this time.


23.    List the names, bar numbers, addresses and telephone numbers of all counsel.


       Charles J. Rogers                              Gregg R. Brown
       10030 Briar Drive                              Katherine Mendiola
       Houston, TX 77042-1207                         Germer Beaman & Brown, PLLC
       (713) 238-8049                                 301 Congress, Ste. 1700
       (713) 952-2908 (fax)                           Austin, Texas 78701
       State Bar No. 00786205                         (512) 472-0288
       CRogers@longevitysports.com                    (512) 472-9260 (fax)
       Counsel for Plaintiff                          State Bar No. 03129010 (G. Brown)
                                                      State Bar No. 24091830 (K. Mendiola)
                                                      Grb-svc@germer-austin.com
                                                      Kmendiola@germer-austin.com
                                                      Counsel for Defense
      Case 4:18-cv-04181 Document 7 Filed on 02/15/19 in TXSD Page 6 of 6



Respectfully submitted and signed
Pursuant to Federal Rule of Civil Procedure 11,


s/Charles J. Rogers                               February 15, 2019
Charles Rogers                                    Date
State Bar No. 00786205
10030 Briar Drive
Houston, Texas 77042
Tel. (713) 238-8049
Fax (713) 952-2908
crogers@longevitysports.com
Counsel for Plaintiff




                                                  February 15, 2019
Gregg R. Brown                                    Date
State Bar No. 03129010
Katherine Mendiola
State Bar No. 24091830
Germer Beaman & Brown, PLLC
301 Congress, Ste. 1700
Austin, Texas 78701
Tel. (512) 472-0288
Fax (512) 472-9260
Grb-svc@germer-austin.com
Kmendiola@germer-austin.com
Counsel for Defendant Car Wash
Partners, Inc.
